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1
                                  UNITED STATES DISTRICT COURT
2                                     DISTRICT OF COLUMBIA
3

4     ANDY NEAL LLC., a Florida limited
      liability company
5

6
      -and-

7     ANDREW NEAL,
                                                            JUDGE TIMOTHY J. KELLY
8     Plaintiffs
9
      Against
10                                                          Case No. 1:19-cv-01666
      UNITED STATES CITIZENSHIP AND
11    IMMIGRATION SERVICES, an agency of APPLICATION FOR PRELIMINARY
      the United States,                 INJUNCTION POSTPONING THE
12
                                         EFFECTIVENESS OF THE
13    Defendant                          REVOCATION

14

15
              Plaintiffs apply to the Court for an exercise its authority under 5 U.S.C. § 705 and/or its
16
     inherent authority to issue injunctions preserving the status quo to postpone the effective date of
17
     the defendant’s revocation of Andy Neal LLC’s petition to classify Andrew Neal as an L-1A
18

19   nonimmigrant pending a review of that decision under the Administrative Procedure Act.

20            Plaintiffs rely upon their Statement of the Specific Points of Law and Authority
21
     concurrently filed herewith in making this motion.
22
              The plaintiffs further request pursuant to LCvR 65.1 for an expedited hearing on this
23
     matter no later than 21 days after the date of this hearing and in support of this motion states that
24

25   as a result of USCIS's decision to revoke the L-1A petition, he is without lawful immigration

26   status and so present in the United States in violation of the law. This state of affairs leaves Mr.
27
     Neal suffering harm that is "certain and great," as he is without legal status at this moment and
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                                                        1
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1    could, by law, be placed in removal proceedings at any time. If Mr. Neal is forced to leave, he

2    will be uprooted from his job, home, and community for an undetermined length of time." Ruiz-
3
     Diaz v. United States, No. C07-1881RSL, 2008 U.S. Dist. LEXIS 79217, 2008 WL 3928016, at
4
     *2 (W.D. Wash. Aug. 21, 2008) (holding that "halting the accrual of unlawful presence time
5
     and/or unauthorized employment for . . . class members" would "prevent irreparable harm to
6

7    class members and their families"). This is time Mr. Neal would never get back, and a disruption

8    to his life that could never be remedied, even if he were ultimately permitted to return to the
9
     United States after prevailing in this case. The harm is thus beyond remediation. See Stellar IT
10
     Sols., Inc. v. United States Citizenship & Immigration Servs., 2018 U.S. Dist. LEXIS 196284,
11
     *35-36, 2018 WL 6047413 (D.C.D.C. Nov. 19, 2018).
12

13          Accordingly it is respectfully requested that a hearing be scheduled on this application

14   within 21 days.
15

16

17
            Respectfully Submitted this 10th day of June, 2019.
18

19

20   /s/ Michael E. Piston
     Michael E. Piston (MI 002)
21
     Attorney for the Plaintiffs
22   225 Broadway, Suite 307
     New York, NY, 10007
23   Ph: 646-845-9895
     Fax: 206-770-6350
24   Email:michaelpiston4@gmail.com
25
                                       CERTIFICATE OF SERVICE
26
     I certify that the foregoing was served upon the defendant in this action today by UPS next day
27

28
     delivery service at the following addresses:


                                                      2
               Case 1:19-cv-01666-TJK Document 3 Filed 06/10/19 Page 3 of 3



1
     United States Citizenship and Immigration Services
2    c/o Civil Process Clerk
     United States Attorney’s Office
3
      555 4th St NW, Washington, DC 20530
4
     United States Citizenship and Immigration Services
5    c/o Attorney General
     US Department of Justice
6
     950 Pennsylvania Avenue NW
7    Washington DC 20530

8    United States Citizenship and Immigration Services
     20 Massachusetts Ave NW
9
     Washington DC 20529
10

11   /s/ Michael E. Piston
     Michael E. Piston (MI 002)
12
     Attorney for the Plaintiffs
13   225 Broadway, Suite 307
     New York, NY, 10007
14   Ph: 646-845-9895
     Fax: 206-770-6350
15
     Email:michaelpiston4@gmail.com
16   Dated: June 10, 2019

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